 1    Scott R. Weaver, WSBA #29267                                         Honorable Frederick P. Corbit
      Carney Badley Spellman, P.S.                                                            Chapter 11
 2    701 Fifth Avenue, Suite 3600                                  Location: 904 West Riverside Avenue
      Seattle, WA 98104-7010                                                                   Suite 304
 3
      (206) 622-8020                                                                Spokane, WA 99201
 4    (206) 467-8215 (Facsimile)                                     Hearing Date: _________________
      weaver@carneylaw.com                                           Hearing Time: _________________
 5    Attorneys for Executive Flight, Inc.                           Telephonic: ___________________

 6
                                 UNITED STATES BANKRUPTCY COURT
 7
                            EASTERN DISTRICT OF WASHINGTON AT SPOKANE
 8
      In re:                                                  NO. 18-03197
 9    GIGA WATT INC.,                                         EXECUTIVE FLIGHT, INC.’S MOTION
10                                                            TO COMPEL REJECTION OF
                                           Debtor.
                                                              UNEXPIRED NON-RESIDENTIAL
11                                                            REAL ESTATE LEASE

12
               EXECUTIVE FLIGHT, INC. (“Landlord”) by way of this Motion to Compel
13
      Rejection of Unexpired Non-Residential Real Estate Lease, pursuant to 11 U.S.C. §365 and
14
      11 U.S.C. §362, states as follows:
15
                                      I.      JURISDICTION AND VENUE
16

17             1.          This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

18    1334. Venue in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a

19    core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

20             2.          The statutory predicates for the relief requested herein are sections 105(a), and

21    365(a), of Title 11 of the United States Code (the “Bankruptcy Code”) and Rule 6006 of the

22    Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

23                                            II.     BACKGROUND

24             3.          On or about November 19, 2018 (the “Petition Date”), Debtor filed a voluntary

25    petition for relief under chapter 11 of the Bankruptcy Code.

26

     EXECUTIVE FLIGHT, INC.’S MOTION TO COMPEL                          CARNEY BADLEY SPELLMAN, P.S.
     REJECTION OF UNEXPIRED NON-RESIDENTIAL REAL                               701 Fifth Avenue, Suite 3600
     ESTATE LEASE – 1                                                            Seattle, WA 98104-7010
                                                                                      (206) 622-8020
     EXE001-0005 5600913

       18-03197-FPC7             Doc 28     Filed 12/05/18     Entered 12/05/18 15:14:10             Pg 1 of 4
 1
               4.          In 2017, Landlord leased commercial property located at One Campbell
 2
      Parkway, East Wenatchee, WA 98802 (“Premises”) to Debtor by way of a lease and
 3
      subsequent amendments (all lease documents attached hereto as Exhibits A-D respectively;
 4
      collectively “Lease”). The Lease is scheduled terminate in 2022.
 5
               5.          Monthly rent is currently $8,047.13. Neither November 2018 nor December
 6
      2018 rent has been paid. See paragraphs 5 and 7 of supporting declaration of Tom Leonard.
 7
               6.          Landlord has located a potential tenant who is interested in leasing a portion of
 8
      the Premises and who desires to take occupancy on January 1, 2019. As such, Landlord is
 9
      requesting that Debtor’s lease be rejected. See paragraph 8 of supporting declaration of Tom
10
      Leonard.
11
               7.          Debtor has vacated the Premises, and Debtor’s counsel has confirmed Debtor
12
      is rejecting the Lease. See paragraphs 5 and 7 of supporting declaration of Tom Leonard.
13
               8.          It is in the best interest of the Debtor, its creditors, and the bankruptcy estate to
14
      reject the Lease to eliminate unnecessary administrative expenses.
15
               9.          Landlord desires to reclaim control and possession of the leased premises.
16
      Again, Landlord has a prospective new tenant who wishes to take occupancy of a portion of
17
      the Premises on January 1, 2019. See paragraph 8 of supporting declaration of Tom Leonard.
18
               10.         Debtor’s rent is at market rate. As such, the lease has no value to the estate.
19
      See paragraph 9 of supporting declaration of Tom Leonard.
20
                                    III.    BASIS FOR RELIEF REQUESTED
21
               11.         Pursuant to 11 U.S.C. 365(d)(2), the Court upon the request of a party to an
22
      unexpired lease, may order the trustee or debtor to determine within a specified period of time
23
      whether to accept or reject the unexpired lease.
24
               12.         The Debtor desires to reject the lease and does not contest the relief requested.
25
26

     EXECUTIVE FLIGHT, INC.’S MOTION TO COMPEL                             CARNEY BADLEY SPELLMAN, P.S.
     REJECTION OF UNEXPIRED NON-RESIDENTIAL REAL                                 701 Fifth Avenue, Suite 3600
     ESTATE LEASE – 2                                                              Seattle, WA 98104-7010
                                                                                        (206) 622-8020
     EXE001-0005 5600913

       18-03197-FPC7             Doc 28      Filed 12/05/18      Entered 12/05/18 15:14:10             Pg 2 of 4
 1
               13.         The Debtor and Landlord are parties to an unexpired lease. The Debtor has
 2
      vacated the Premises and has no interest in using the Premises covered by the Lease or in
 3
      undertaking the payment obligations required by the Lease. Accordingly, Landlord requests
 4
      that this Court order Debtor to reject the Lease effective upon entry of this Court’s order on
 5
      this Motion.
 6
               14.         Alternatively, pursuant to 11 U.S.C. §362(d)(2) and §362(a)(3), the automatic
 7
      stay should be terminated so that Landlord can regain possession of the leased premises that
 8
      Debtor has already vacated and is not interested in occupying.
 9
               15.         The significance of rejection under Section 365 is that it relieves the estate of
10
      onerous and burdensome future obligations. See In re Shangra-Law, Inc., 167 F.3d 843, 849
11
      (4th Cir. 1999) (citing NLRB v. Bildisco & Bildisco, 465 U.S. 513 (1984)).
12
               16.         Landlord asserts that Debtor has determined that the Lease is of no further
13
      value to the estate and does not object to the rejection of the Lease as soon as possible.
14
      Moreover, the rent called for in the Lease is at market rate. Again, the lease is of no value to
15
      the estate.
16
                                               IV.     CONCLUSION
17
               17.         Based on the foregoing, the rejection of the Lease under Section 365(a) of the
18
      Bankruptcy Code is in the best interest of the Debtor and the Debtor’s estate.
19
               WHEREFORE, the Landlord respectfully requests that the Court enter an order: (a)
20
      compelling the rejection of the Lease and deeming the Lease rejected pursuant to Section
21
      365(a) of the Bankruptcy Code, effective at the entry of the Court’s order granting this
22
      Motion; (b) preserving the Landlord’s right to seek an administrative claim pursuant to 11
23
      U.S.C. §§ 365(d)(3) and 503(b)(1)(A) for unpaid post-petition rent and charges; and (c)
24
      providing such further relief as is just and proper.
25
26

     EXECUTIVE FLIGHT, INC.’S MOTION TO COMPEL                          CARNEY BADLEY SPELLMAN, P.S.
     REJECTION OF UNEXPIRED NON-RESIDENTIAL REAL                               701 Fifth Avenue, Suite 3600
     ESTATE LEASE – 3                                                            Seattle, WA 98104-7010
                                                                                      (206) 622-8020
     EXE001-0005 5600913

       18-03197-FPC7             Doc 28     Filed 12/05/18     Entered 12/05/18 15:14:10             Pg 3 of 4
 1

 2
               DATED this 5th day of December, 2018.
 3
                                                 CARNEY BADLEY SPELLMAN, P.S.
 4

 5                                               By /s/Scott R. Weaver
                                                    Scott R. Weaver, WSBA #29267
 6                                                  weaver@carneylaw.com
                                                    701 Fifth Avenue, Suite 3600
 7                                                  Seattle, WA 98104-7010
                                                    Phone: (206) 622-8020
 8                                                  Fax: (206) 467-8215
 9                                               Attorneys for Executive Flight, Inc.

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25
26

     EXECUTIVE FLIGHT, INC.’S MOTION TO COMPEL                  CARNEY BADLEY SPELLMAN, P.S.
     REJECTION OF UNEXPIRED NON-RESIDENTIAL REAL                      701 Fifth Avenue, Suite 3600
     ESTATE LEASE – 4                                                   Seattle, WA 98104-7010
                                                                             (206) 622-8020
     EXE001-0005 5600913

       18-03197-FPC7       Doc 28    Filed 12/05/18    Entered 12/05/18 15:14:10            Pg 4 of 4
